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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. SACV 20-02218-JLS (KESx) Date November 3, 2021

 

 

Title Bridget Palmer v. CoreLogic Rental Property Solutions LLC et al

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

Melissa Kunig None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON STIPULATION
TO DISMISS WITH PREJUDICE

The Court, having been advised that this action has been resolved by a Stipulation to
Dismiss with Prejudice [14], hereby orders this action dismissed with prejudice. The Court
hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk mku

 

 

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